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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

)
Tn re: ) Chapter 7

)
ART VAN FURNITURE, LLC, et ai.,' } Case No. 20-10553 (CSS)
} .
Debtors. ) Gointly Administered)
)

 

ORDER GRANTING MOTION TO SHORTEN NOTICE PERIOD AND SCHEDULE
EXPEDITED HEARING ON MOTION OF ALFRED T. GEULIANO,
CHAPTER 7 FRUSTEE, TO: (A) APPROVE AGREEMENT WITH AMERICAN
SIGNATURE, INC. AND AUTHORIZE LIQUIDATION OF ASSETS AT TWO STORE
LOCATIONS, AND TO SELL ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
ENCUMBRANCES, AND INTERESTS; (B) GRANTING RELATED RELIEF
Upon consideration of the motion (the “Motion to Shorten”) for entry of an order
shortening the notice period and scheduling an expedited hearing on the Motion of Alfred T.
Giuliano, Chapter 7 Trustee, to: (A) Approve Agreement with American Signature, Inc. and
Authorize Liquidation of Assets at Two Store Locations, and to Sell Assets Free and Clear of All
Liens, Claims, Encumbrances, and Interests; and (B) Granting Related Relief (the “Motion”)

filed by Alfred T. Giuliano, chapter 7 trustee (the “Trustee’’) to the estates of the above-

captioned debtors (the “Debtors”); and the Court having determined after due deliberation that

 

the legal and factual bases set forth in the Motion to Shorten establish just cause for the relief

granted herein; and the Court finding that (a) the Court has jurisdiction for a hearing pursuant to

 

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291}; AVCE, LLC (2509); AVF
Holdings 1, LLC (2537); AVE Holdings H, LLC (7472); AVF Parent, LLC (3431); Levin Parent, LLC (8052); Art
Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC (6325); LF
Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location of the Debtors’
service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.

? Capitalized terms not defined herein shall have the meanings attributed in the Motion to Shorten or the Motion, as
applicable.

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28 U.S.C. §§ 157 and 1334, (b) the Motion to Shorten is a core proceeding pursuant to 28 U.S.C.
§ 157(b)(2) and (c) venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and notice of the
Motion to Shorten being adequate and sufficient; and after due deliberation and sufficient cause
appearing therefor,

IT IS HEREBY ORDERED THAT:

1. The Motion to Shorten is GRANTED as set forth herein.

2. A hearing to consider the relief requested in the Motion shall be held on

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fiéeg & 2020, at /2. "2 Gm. (prevailing Eastern time) (the “Hearing”).

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3. Any objections or responses to the relief requested in the Motion are due at the
Hearing.
4. Immediately after the entry of this Order, counsel for the Trustee shall serve a

copy of this Order and notice of the Motion on parties originally served with the Motion to
Shorten and the Motion in the manner described in the Motion to Shorten.
5. This Court shall retain jurisdiction with respect to all matters arising from or

related to the interpretation and enforcement of this Order.

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